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 5
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                            EASTERN DISTRICT OF CALIFORNIA
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 8
     UNITED STATES OF AMERICA,           )                1:06-cr-00299 AWI
 9                                       )
                       Plaintiff,        )                ORDER RE EX PARTE
10                                       )                MOTION FOR ORDER
           v.                            )                GRANTING ADDITIONAL
11                                       )                FUNDS FOR INVESTIGATOR
     KEITH DAVID GOODWIN,                )
12                                       )
                       Defendant.        )
13   ____________________________________)
14
15          On August 7, 2008, Defendant filed his Ex Parte Motion For Order Granting
16   Additional Funds For Investigator. In Defendant’s motion, Defendant requests additional
17   funds for “ . . . court appointed licensed investigator Rick Barclay . . . traveling to Texas to
18   meet with and interview and videotape the sworn deposition of Garrett Michael Goodwin.”
19   The court has reviewed the motion and exhibits in support of the motion. The court is also
20   well aware of the evidentiary and procedural issues relating to Garrett Michael Goodwin that
21   arose throughout the pretrial and trial proceedings in this case.
22          The court is satisfied that at this time, based upon all of the information available to
23   the court, granting Defendant’s motion is unwarranted. Defendant may, if he so chooses,
24   submit a declaration signed under penalty of perjury by Garrett Michael Goodwin, if he so
25   chooses, in support of any post trial motions or sentencing issues. Thereafter, should the
26   court determine that the deposition or live testimony of Garrett Michael Goodwin would be
27   necessary for the consideration and resolution of any motion or sentencing issues, the court
28   will so inform the parties.
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 1          THEREFORE, IT IS HEREBY ORDERED that Defendant’s Ex Parte Motion For
 2   Order Granting Additional Funds For Investigator is DENIED.
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 4   IT IS SO ORDERED.
 5   Dated:    August 13, 2008                     /s/ Anthony W. Ishii
     0m8i78                               CHIEF UNITED STATES DISTRICT JUDGE
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